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                              UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MASSACHUSETTS
                                        Eastern Division




 In re:                                                     Chapter 7
     ANDRE BISASOR,
                                                            Case No.: 15-13369-JNF

                                   Debtor.


                                     CERTIFICATE OF SERVICE

          I, Donald F. Farrell, Jr., do hereby certify that on this 5th day of December, 2018, a copy
of the Further Statement Of Chapter 7 Trustee With Respect To Joint Motion For Approval Of
Settlement Agreement And Fee Application Of Former Counsel was served in the manner
indicated on the parties identified below.


                                                        /s/ Donald F. Farrell, Jr.



The following were served via the ECF/CM electronic filing system:


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